






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00120-CV






Walter Lee Hall, Jr., Appellant


v.


HSBC Mortgage Services, Inc., Its Successors and Assigns, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. C-1-CV-07-010279, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On April 15, 2011, we dismissed this appeal for want of prosecution because
appellant Walter Lee Hall, Jr. had not filed his brief by the February 23 deadline set when we granted
a motion for extension of time.  See Tex. R. App. P. 42.3(b).   Almost immediately after that opinion
issued, Hall filed a motion for rehearing attaching a copy of a bankruptcy petition that he filed in the
U.S. Bankruptcy Court of the Western District of Texas on January 24, 2011.  We reinstated the case
and abated the appeal on June 2, see Tex. R. App. P. 8.1,&nbsp;8.2, 8.3, ordering Hall to inform us within
ten calendar days of the resolution of the bankruptcy proceeding or another event that would allow
us to reinstate the appeal, warning him that his failure to provide such notice would result in the
appeal's dismissal for want of prosecution.  See id. R. 42.3.   On July 15, we were informed by the
appellees in another case filed by Hall that the bankruptcy had been dismissed on the bankruptcy
trustee's motion and that Hall was barred from filing another bankruptcy petition for two years.  The
bankruptcy court signed the order of dismissal on June 28, but as of July 19, Hall had not informed
this Court of the dismissal.  We dismiss the appeal for want of prosecution on our own motion.



					__________________________________________

					David Puryear,  Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Prosecution

Filed:   July 21, 2011



